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               ORAL ARGUMENT NOT YET SCHEDULED

                                 No. 23-7061


                In the United States Court of Appeals
                 for the District of Columbia Circuit


                            ANDREW HANSON, ET AL.,

                                                 Plaintiffs-Appellants,

                                        v.

                       THE DISTRICT OF COLUMBIA, ET AL.,
                                                 Defendants-Appellees,


                     INITIAL BRIEF OF APPELLANTS


                On Appeal from the United States District Court
              for the District of Columbia (No. 1:22-Cv-02256-Rc)


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    CERTIFICATE AS TO PARTIES, RULINGS & RELATED CASES

      Parties and Amici: The Appellants, each of whom were Plaintiffs before the

district court, are Andrew Hanson, Tyler Yzaguirre, Eric Klun, and Nathan Chaney.

The Appellees, each of whom was Defendants before the district court, are the

District of Columbia and Metropolitan Police Department Chief Robert J. Contee,

III. Chief Contee has since resigned his position and has been replaced by Asham

M. Benedict. Amici before the district court included March for Our Lives, the

Giffords Law Center to Prevent Gun Violence, and Brady.

      Rulings Under Review: The ruling under review is the district court’s

Memorandum Opinion dated April 20, 2023 (App. at _ [ECF No. 28]) and Order

(App. at _ [ECF No. 27]) of the same date, which denied the Plaintiffs’ motion for a

preliminary injunction.

      Related Cases: There are no related cases pending in this Court or before the

U.S. District Court for the District of Columbia. Cases involving the same issues

raised in this case are pending in the First Circuit (Ocean State Tactical, LLC v.

Rhode Island, Case No. 23-1072), the Third Circuit (Delaware State Sportsmen’s

Association, Inc. v. Delaware Department of Safety and Homeland Security, Case

No. 23-1641), the Fourth Circuit (Bianchi v. Frosh, Case No. 21-1255), and the

Seventh Circuit (Barnett v. Raoul, Case No. 21-1255). In addition, cases raising the

same issues as this case are pending in the Southern District of California (Duncan


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v. Bonta, Case No. 17-cv-1017); Northern District of Illinois (National Association

for Gun Rights v. Highland Park, Case No. 1:22-cv-04774); the District of Hawaii,

(Abott v. Lopez, Case No. 1:20-cv-00360 and National Association for Gun

Rights v. Lopez, Case No. 1:22-cv-00404); the District Court of New Jersey,

(Association Of New Jersey Rifle & Pistol Clubs, Inc., v. Platkin, Case No 18-cv-

10507); the District of Oregon (Oregon Firearms Federation v. Brown, Case

No. 2022-cv-1815); and the Western District of Washington (Sullivan v. Ferguson,

22-cv-05403).




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                       STATEMENT OF JURISDICTION

      Because the Plaintiffs-Appellants sued under 42 U.S.C. § 1983 to vindicate

their federal constitutional rights, the district court had subject-matter jurisdiction

under 28 U.S.C. § 1331. The district court denied the Plaintiffs-Appellants’ motion

for a preliminary injunction on April 20, 2023. See App. at _, _ [ECF Nos. 27, 28].

On May 16, 2023, the Plaintiffs-Appellants filed a timely notice of appeal. See App.

at _ [ECF No. 30]. Accordingly, this Court has subject-matter jurisdiction under 28

U.S.C. § 1292(a)(1).




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                          STATEMENT OF THE ISSUES

      1.    Are magazines capable of holding more than ten rounds of ammunition

“arms” for purposes of the Second Amendment?

      2.    Are magazines capable of holding more than ten rounds of ammunition

in common use?

      3.    Did the district court err by adding to its Second Amendment analysis

the additional step of examining historical analogues to the District’s Magazine

Capacity Cap?

      4.    Should the district court have granted Plaintiffs-Appellants’ Motion for

Preliminary Injunction?

      5.    Should this Court permanently enjoin the District’s Magazine Capacity

Cap as violative of the Second Amendment?




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                    STATEMENT OF THE CASE & FACTS

I.    THE DISTRICT OF COLUMBIA HAS ENACTED SERIATIM RESTRICTIONS ON
      FIREARMS, BUT COURTS HAVE CONSISTENTLY ROLLED BACK THOSE
      RESTRICTIONS AS UNCONSTITUTIONAL.

      For roughly two-score years, the District of Columbia has done its level best

to rid firearms entirely from within its borders by imposing some of the most

egregious—and unconstitutional—restrictions in the Nation. In 1976, the District

banned the possession of nearly all handguns by first making it a crime to possess a

firearm without registering it, and then prohibiting the registration of handguns.

Eventually, the U.S. Supreme Court struck down this prohibition on the basis that it

violated the core right of self-defense enshrined in the Second Amendment. See

District of Columbia v. Heller, 554 U.S. 570, 636 (2008).

      Having been rebuffed by Heller, the District got creative. It combined one

restriction—that “no persons or organization in the District shall possess or control

any firearm, unless the persons or organization holds a valid registration certificate

for the firearm,” D.C. Code § 7-2502.02(a)(4)—with another that forbade handgun

registration for use other than “self-defense within that person’s home,” Id. § 7-

2502.02(a)(4). In so doing, the District effectively attempted to ban the carrying of

all firearms outside the home. This provision, however, was held unconstitutional in

Palmer v. District of Columbia, 59 F. Supp. 3d 173, 184 (D.D.C. 2014).




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      Undeterred, the District then passed a regulation limiting the concealed carry

of handguns outside the home to those who could convince the Metropolitan Police

Chief that he or she had a “good reason to fear injury to [his or her] person or

property” or “any other proper reason for carrying a pistol.” D.C. Code § 22-

4506(a)-(b). This “may issue” rule, predictably, resulted in the issuance of very few

(only 123) concealed-carry licenses in the District. This Court rightly struck that

provision in Wrenn v. District of Columbia, 864 F.3d 650, 668 (D.C. Cir. 2017),

because it infringed the Second Amendment.

      Despite consistent reprimands by this Court and others, the District persists.

Unable to (1) ban all handguns, (2) ban all handguns outside the home, or

(3) exercise unbridled discretion over who may carry handguns outside the home,

the District now attempts to regulate the types of arms that can be possessed by

prohibiting the possession of extraordinarily common arms possessed and used for

lawful purposes. Here, the District has banned the sale, possession, or transfer of any

so-called “large capacity ammunition feeding device,” (“Magazine Capacity Cap”),

which it defines as “a magazine, belt, drum, feed strip, or similar device that has a

capacity of, or that can be readily restored or converted to accept, more than 10

rounds of ammunition.” D.C. Code § 7-2506.01(b) (“Plus-Ten Magazines”).

Violations are a felony and can result in three-years’ imprisonment or a $12,500.00

fine. Id. §§ 7-2507.06(a)(4); 22-3571.01(b)(6).

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         As the district court recognized, most “semi-automatic firearms,” including

the Nation’s more popular self-defense handguns, “use detachable box magazines,”

which are “vehicle[s] for carrying ammunition.” App. at _ [ECF No. 28 at 2]. And

this Court has already once noted that “fully 18 percent of all firearms”—not just

semi-automatic handguns—“owned by civilians in 1994 were equipped with Plus-

Ten Magazines holding more than ten rounds, and approximately 4.7 million more

of such magazines were imported into the United States between 1995 and 2000.”

Heller v. District of Columbia (“Heller II”), 670 F.3d 1244, 1261 (D.C. Cir. 2011).

Current estimates place the number of Plus-Ten Magazines in circulation in the

United States at more than 500 million. See William English, 2021 National

Firearms Survey: Updated Analysis Including Types of Firearms Owned at 2, 20,

24-25 (May 13, 2022). 1

         Indeed, of the top-selling semi-automatic pistols last year, all but one are sold

with magazines that hold between twelve and eighteen rounds. Gun Genius, one of

the larger online gun and ammunition e-commerce platforms in the world, released

a comprehensive list of the best-selling firearms of 2022.2 Five handguns were listed

among the top ten best-selling firearms. Four out of those five—the Sig Sauer P320,




1
    Available https://ssrn.com/abstract=4109494 (last visited Aug. 21, 2023).
2
    See https://freerangeamerican.us/best-selling-guns/ (last visited Aug. 21, 2023).

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Sig Sauer P365, Smith & Wesson M&P 9, and Glock 19—come standard issue with

Plus-Ten Magazines from the factory. All four models are marketed for lawful self-

defense.

      Notably, Sig Sauer, Smith & Wesson, and Glock list all four models under

“home defense,” and all four models are consistently ranked among the best firearms

for that purpose. 3 National Interest called the Glock 19 the “perfect choice” for

“home or personal defense.”4 Firearms News said that although typical self-defense

scenarios will not require more than five to seven rounds, increased domestic and

global uncertainty makes the Sig Sauer P365’s extended (twelve-round) magazine

capacity a “huge selling point.”5 Reviews for handguns across every website and

periodical are nearly identical in what they aspire to accomplish: effectiveness and

reliability for self-defense. Increasingly, Plus-Ten Magazines have become a crucial

aspect of what citizens look for in self-defense arms.




3
 See https://us.glock.com/en/Pistols?filter=homedef (last visited Aug. 21, 2023);
https://www.smith-wesson.com/products/home-defense (last visited Aug. 21,
2023); https://www.sigsauer.com/firearms/pistols/defense.html (last visited Aug.21,
2023).
4
 See https://nationalinterest.org/blog/buzz/smith-wesson-mp-m20-best-handgun-
home-defense-158876 (last visited Aug. 21, 2023).
5
  See                   https://www.firearmsnews.com/editorial/sigsauer-p365-
review/453063#:~:text=Keeping%20in%20mind%20just%20how,smooth%20with
%20a%20clean%20break (last visited Aug. 21, 2023).

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       In other words, the District has set an arbitrary cap on the number of rounds

an individual may carry in his or her self-defense pistol, even though many (if not

the vast majority of) self-defense pistols are sold to law-abiding citizens for lawful

purposes with magazines that exceed the District’s arbitrary Magazine Capacity

Cap.

II.    THE DISTRICT COURT ERRONEOUSLY DECLINED TO ENJOIN THE MAGAZINE
       CAPACITY CAP.

       Each of the four Plaintiffs has a D.C. Metropolitan Police Department

(“MPD”) issued concealed-carry pistol license, and all regularly carry a pistol while

in the District. Compl. ¶¶ 1-4 (App. at _ [ECF No. 1]). Every one of them owns Plus-

Ten Magazines but store them outside the District. Id. One of the Plaintiffs—Tyler

Yzaguirre—tried to register a firearm with a twelve-round magazine (a Sig Sauer

P365, one of the top-three-selling self-defense pistols in the United States), but he

was denied based on D.C.’s Magazine Capacity Cap. App. at _ [ECF No. 28 at 10].

       On August 1, 2022, Plaintiffs sued the District of Columbia and MPD Chief

Robert J. Contee III. Their two-count complaint alleged that D.C.’s Magazine

Capacity Cap violated (1) the Second Amendment, as explained in N.Y. State Rifle

& Pistol Association v. Bruen, 142 S. Ct. 2111 (2022), and (2) the Fifth

Amendment’s Due Process Clause as both arbitrary and irrational. Roughly two-

weeks later, the Plaintiffs moved for a preliminary injunction based on their Second



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Amendment Claim. App. at _ [ECF No. 8]. The district court, however, denied it on

April 20, 2023. App. at _ [ECF No. 28].

       The district court erred in its analysis under Heller and Bruen. At the outset

of its denial order, the district court correctly noted that, in Heller II, this Court found

that Plus-Ten Magazines “are in common use.” App. at _ [ECF No. 28 at 6] (quoting

Heller II, 670 F.3d at 1261). That finding should have been the end of the analysis,

as Heller unambiguously explained that arms commonly possessed and used for

lawful purposes receive Second Amendment protection. 554 U.S. at 624-25, 627-

28. As the Supreme Court put it in Bruen:

       The Second Amendment guaranteed to “all Americans” the right to
       bear commonly used arms in public subject to certain reasonable, well-
       defined restrictions. Heller, 554 U.S. at 581 . . . . Those restrictions, for
       example, limited the intent for which one could carry arms, the manner
       by which one carried arms, or the exceptional circumstances under
       which one could not carry arms, such as before justices of the peace and
       other government officials. Apart from a few late-19th-century outlier
       jurisdictions, American governments simply have not broadly
       prohibited the public carry of commonly used firearms for personal
       defense.

142 S. Ct. at 2156 (emphasis added). Bruen stressed that commonly possessed arms

are protected. Id. at 2123, 2143 2144 & 2153; see also Caetano v. Massachusetts,

577 U.S. 411, 417, 420 (2016) (Alito, J. concurring). Thus, the only questions

relevant to the district court’s analysis were: (1) Are Plus-Ten Magazines arms that

the Second Amendment presumptively protects? And if so, (2) are they in common

use for lawful purposes?
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      Instead, the district court erroneously added an additional step to its analysis.

Specifically, it formulated its analysis as follows: “[T]he first question in this case

is whether the Second Amendment covers . . . possession” of Plus-Ten Magazines,

and, “[i]f yes, the second question is whether the District’s” Magazine Capacity Cap

“is relevantly similar to a historical analogue.” App. at _ [ECF No. 28 at 10].

Although the first element of the district court’s analysis is broadly consistent with

the Supreme Court’s guidance, the second element is not because Heller and Bruen

unambiguously state that commonly owned arms receive Second Amendment

protection. This is because the Supreme Court has already conducted the historical

analysis as to which arms receive protection, and it concluded that commonly

possessed arms are protected while those that are “highly unusual in society at large”

are not. Heller, 554 U.S. at 627-28.6

      As for Bruen’s first question, the district court made some correct

determinations and some incorrect determinations—but ultimately decided the

question incorrectly. First, the district court correctly determined that Plus-Ten

Magazines are indeed “arms” for purposes of the Second Amendment. App. at _

[ECF No. 28 at 14]. Next, the district court correctly observed that Plus-Ten


6
 See also Heller, 554 U.S. at 625-26 (“We therefore read Miller to say only that the
Second Amendment does not protect those weapons not typically possessed by law-
abiding citizens for lawful purposes, such as short-barreled shotguns. That accords
with the historical understanding of the scope of the right . . . .”).

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Magazines are in common use. App. at _ [ECF No. 28 at 15]. Nevertheless, the

district court quizzically concluded that Plus-Ten Magazines are not “typically

possessed by law-abiding citizens for lawful purposes.” App. at _ [ECF No. 28 at

15]. The district court accomplished this feat of logical gymnastics by first reasoning

that Plus-Ten Magazines are “most useful in military service,” and even if “[a]

weapon . . . ha[s] some useful purposes in both civilian and military contexts, . . . if

it is most useful in military service, it is not protected by the Second Amendment.”

App. at _ [ECF No. 28 at 17] (emphases in original). The district court then doubled

down on its logic by parroting an age-old justification for unconstitutional arms

control: “civilians . . . simply d[o] not need” that much “ammunition . . . for self-

defense.” App. at _ [ECF No. 28 at 23]. To support this analysis, the Court cited the

since-abrogated Heller II decision repeatedly—but not once did it cite Bruen.

      “[T]o round out [its] analysis,” the district court then incorrectly engaged in

an extra step—considering whether the District’s Magazine Capacity Cap “is

consistent with this Nation’s tradition of firearm regulation.” App. at _ [ECF No. 28

at 25]. But in so doing, the district court ignored that Heller and Bruen have already

concluded that commonly owned arms cannot be banned. Instead, the district court

glommed onto stray language from Bruen noting that, when conducting any

historical analysis, “‘cases implicating unprecedented societal concerns or dramatic

technological changes’ require ‘nuanced’ consideration.” App. at _ [ECF No. 28 at

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25] (quoting Bruen, 142 S.Ct. at 2131–32). The district court then reasoned that (1) a

purported uptick in mass shootings constituted an unprecedented societal concern,

and (2) because the detachable box magazine was not invented until the turn of the

twentieth century, Plus-Ten Magazines constituted “a dramatic technological

change.” App. at _ [ECF No. 28 at 30]. Applying a “nuanced consideration,” App.

at _ [ECF No. 28 at 32], and based on laws of only six states and the District (roughly

12 percent of jurisdictions) in the 1930s (i.e., one-hundred-forty years since the

ratification of the Second Amendment and sixty-years since the ratification of the

Fourteenth) that only arguably (not definitively) had some limits on magazine

capacity of semi-automatic firearms, the district court concluded that there existed

“a widespread tradition . . . of regulating high-capacity weapons that could fire

rapidly without reloading.” App. at _ [ECF No. 28 at 34]. On those alternative

grounds, it doubled down on its conclusion that the District’s Magazine Capacity

Cap survived Second Amendment scrutiny. App. at _ [ECF No. 28 at 40].

      At bottom, the district court determined that “[t]he Second Amendment gives

states space to experiment, and that is what . . . D.C. ha[s] done.” App. at _ [ECF

No. 28 at 39]. Accordingly, it denied the Plaintiffs’ motion for a preliminary

injunction without addressing the other preliminary-injunction prongs. See App. at

_ [ECF No. 28]. Plaintiffs timely appealed on May 16, 2023. App. at _ [ECF No. 30].




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                       SUMMARY OF THE ARGUMENT

      Heller unquestionably instructs that the Second Amendment presumptively

protects all bearable arms. 554 U.S. at 582; see also Caetano, 577 U.S. at 411. The

Second Amendment’s presumptive protection can be rebutted by showing that a

bearable arm is not commonly possessed for lawful purposes. 554 U.S. at 624-25.

This is the distinction Heller explained between arms in common use that cannot be

banned, and dangerous and unusual arms that may be banned. “A weapon may not

be banned unless it is both dangerous and unusual.” Caetano, 577 U.S. at 417 (Alito,

J. and Thomas, J., concurring).

      Although the district court correctly determined that Plus-Ten Magazines are

bearable arms that are commonly possessed, the court otherwise botched its analysis

by: (1) limiting the analysis to “common use for self-defense” rather than common

possession for lawful purposes generally; 7 (2) limiting self-defense “use” to actually

firing a weapon in self-defense rather than possessing or carrying the weapon with


7
  See Heller, 554 U.S. at 624-25 (“We therefore read [United States v.] Miller[, 307
U.S. 174 (1939)] to say only that the Second Amendment does not protect those
weapons not typically possessed by law-abiding citizens for lawful purposes, such
as short-barreled shotguns. That accords with the historical understanding of the
scope of the right . . . .”). For example, the district court ignored evidence that the
banned magazines are predominately used in self-defense training courses, see App.
at _ [ECF Nos. 24-4, 24-5, 24-6, 24-7 and 24-8]. Self-defense training, in and of
itself, is a key component of the core right of self-defense. See, e.g., Ezell v. City of
Chicago, 651 F.3d 684, 704 (7th Cir. 2011) (range training protected under the
Second Amendment.); accord Drumond v. Robinson, 9 F.4th 217 (3d Cir. 2021).

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a Plus-Ten Magazine “in case of confrontation” (Heller, 554 U.S. at 592); and

(3) holding that Plus-Ten Magazines are not “used” in self-defense because

generally civilians often fire fewer than ten rounds during self-defense incidents

(despite record evidence of various instances where civilian defenders did indeed

fire more than ten rounds in self-defense). See App. at _, _ [ECF No. 1 at 10; ECF

No. 24-10].

      Corollary to the district court’s mistaken analysis was its determination that

Plus-Ten Magazines are unprotected because they are most useful in a military or

law enforcement context. This amounted to a gross misreading of Heller’s

explanation that dangerous and unusual weapons are unprotected even though such

weapons would, under Miller, contribute to an effective militia and military. Heller

explained that such arms may be banned not because they are most useful to the

military but because they are “highly unusual in society at large.” 554 U.S. at 628.

Thus, arms commonly possessed for lawful purposes, such as the Plus-Ten

Magazines at issue, are protected even though they are used in military service.

      Its separate analysis of Plus-Ten Magazine’s usefulness to the military was an

unnecessary—and erroneous—step, which the district misapplied anyway. Heller’s

analysis is controlling, and so Plus-Ten Magazines, as bearable arms in common use

for lawful purposes, are protected by the Second Amendment. Nothing in Bruen

casts doubt on Heller’s common-possession-and-use test. See Bruen, 142 S. Ct. at

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2143 (“[D]rawing from this historical tradition, we explained there that the Second

Amendment protects only the carrying of weapons that are those “in common use at

the time,” rather than those that “are highly unusual in society at large’” (citing

Heller, 554 U.S. at 627)).

      The district court nevertheless incorrectly proceeded under the guise of a

“nuanced approach” to conduct an interest-balancing analysis. It concluded that

these commonly possessed and used arms are unprotected, and that Plus-Ten

Magazines represent a “dramatic technological change” (despite more than a 200-

year existence of firearms able to fire more than ten rounds without reloading). App.

at _ [ECF No. 28 at 30]. The district court further concluded that the District’s

Magazine Capacity Cap aligned with the Nation’s tradition of firearms regulation by

reference only to 20th century Prohibition-era restrictions that mostly applied to

fully automatic machine guns. See App. at _ [ECF No. 28 at 32–40]. But Bruen made

it clear that arms restrictions must be justified by reference to Founding era

analogues. See Bruen, 142 S. Ct. at 2131 (citation omitted). Nothing in Bruen’s

discussion of a “more nuanced approach” invites courts to depart from Founding Era

analogues. And nothing in Bruen suggests that a “nuanced” approach can justify

banning arms in common use.

      For these reasons, the Court should reverse the district court’s denial of the

preliminary injunction requested by Plaintiffs. Moreover, because Plus-Ten

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Magazines are commonly possessed and used for lawful purposes, this Court should

direct the district court on remand to enter an order permanently enjoining the

District’s Magazine Capacity Cap. See Wrenn, 864 F.3d at 667.

                            STANDARD OF REVIEW

      This Court reviews a district court’s denial of an injunction for abuse of

discretion and will only set aside the district court’s factual findings if they are

“clearly erroneous.” Fed. R. Civ. P. 52(a); FTC v. Whole Foods Mkt., 548 F.3d 1028,

1034 (D.C. Cir. 2008); FTC v. H.J. Heinz Co., 246 F.3d 708, 713 (D.C. Cir. 2001).

However, if this Court’s review of the district court’s decision “reveals that it rests

on an erroneous premise as to the pertinent law, [this Court] must examine the

decision in light of the legal principles [it] believe[s] proper and sound,” applying

“de novo review to the district court’s conclusions of law.” FTC v. H.J. Heinz Co.,

246 F.3d at 713 (internal citations omitted) (cleaned up).

                                   ARGUMENT

      After more than ten years of watching circuit courts dilute its proclamation

that “the right to keep and bear arms” is indeed enshrined “among those fundamental

rights necessary to our system of ordered liberty,” McDonald v. City of Chicago,

561 U.S. 742, 778 (2010), the Supreme Court recently tripled-down on its holding

that the Second Amendment “‘surely elevates above all other interests the right of

law-abiding, responsible citizens to use arms’ for self-defense.’” Bruen, 142 S. Ct.


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at 2118 (quoting Heller, 554 U.S. at 635). In so doing, the Court spurned as

“[il]legitimate” any tendency among judges to “‘make difficult empirical judgments’

about ‘the costs and benefits of firearms restrictions,’ especially given their ‘lack

[of] expertise’ in the field.” Id. (quoting McDonald, 561 U.S. at 790–91). For that

reason, the Court rejected the use of any “judge-empowering ‘interest-balancing

inquiry’ that ‘asks whether the statute burdens a protected interest in a way or to an

extent that is out of proportion to the statute’s salutary effects upon other important

governmental interests.’” Id. at 2129 (quoting McDonald, 561 U.S. at 790-91;

Heller, 554 U.S. at 634).

      The rule from Bruen preferences the preexisting right of self-defense reflected

in the Second Amendment. Thus, “when the Second Amendment’s plain text covers

an individual’s conduct,” i.e., possession of arms for self-defense, “the Constitution

presumptively protects that conduct.” Id. at 2169 (emphasis added). If the

government wants to restrict such conduct, it “may not simply posit that the

regulation promotes an important interest.” Id. Instead, it “must demonstrate that the

regulation is consistent with this Nation’s historical tradition of firearm regulation.”

Id. If the government cannot do so, then the conduct remains protected by “the

Second Amendment’s ‘unqualified command.’” Id. (quoting Konigsberg v. State

Bar of Cal., 366 U.S. 36, 50 n.10 (1961)).




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        Precious little of the district court’s preliminary-injunction order faithfully

applied Bruen, or Heller for that matter. The Bruen Court saw this coming. It warned

that when a court examines whether “a regulation is consistent with this Nation’s

historical tradition of firearm regulation,” it may have to reason by analogy, but it

may not “engage in independent means-end scrutiny under the guise of an analogical

inquiry.” Id. at 2132, 2133 n.7. Bruen also warned that courts are forbidden from

“making . . . empirical judgments regarding firearm regulations” that often result in

“defer[ral] to the determinations of legislatures.” Id. at 2131. This is so because “the

very enumeration of the right takes out of the hands of government—even the Third

Branch of Government—the power to decide on a case-by-case basis whether the

right is really worth insisting upon.” Id. at 2129 (quoting Heller, 554 U.S. at 634).

Indeed, “‘[a] constitutional guarantee subject to future judges’ assessments of its

usefulness is no constitutional guarantee at all.’” Id. (quoting Heller, 554 U.S. at

634).

        The district court flouted every one of these admonitions. It took it upon itself

to determine whether Plus-Ten Magazines are “useful[],” for self-defense, and it

concluded that, because they are “a poor fit” for that job, they are “outside the scope

of the Second Amendment.” App. at _ [ECF No. 28 at 16]. It drew “empirical

judgments regarding” the District’s Magazine Capacity Cap, which led it to conclude

that “law-abiding citizens do not use” Plus-Ten Magazines “because incidents where

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a civilian actually expends more than ten bullets in self-defense are ‘vanishingly

rare.’” App. at _ [ECF No. 28 at 16]. And it reasoned that “[t]he Second Amendment

gives states space to experiment,” even though that premise is at loggerheads with

the Supreme Court’s proclamation that the Second Amendment “restricts

experimentation and local variations,” since “[t]he enshrinement of constitutional

rights necessarily takes certain policy choices off the table.’” McDonald, 561 U.S.

at 790 (quoting Heller, 554 U.S. at 636) (emphasis added).

I.    THE PLAINTIFFS ARE LIKELY TO SUCCEED ON THEIR SECOND AMENDMENT
      CHALLENGE TO THE DISTRICT’S MAGAZINE CAPACITY CAP.

      Bruen is unambiguous. “[T]he Second Amendment’s plain text covers” the

possession and use of Plus-Ten Magazines because they are “arms” for purposes of

the Second Amendment. Heller makes this crystal clear. “[T]he Second Amendment

extends, prima facie, to all instruments that constitute bearable arms . . . .” 554 U.S.

at 582. Thus, their use and possession are “presumptively protect[ed]” by the

Constitution, meaning that the District’s ban must be enjoined unless the District can

show that the “regulation is consistent with this Nation’s historical tradition of

firearm regulation.” Bruen, 142 S. Ct. at 2126. And the District cannot possibly meet

this test because Heller has already definitely held that the Nation’s historical

tradition (and thus the Second Amendment) protects arms commonly possessed and

used for lawful purposes. 554 U.S. at 624-25 & 627. See also Bruen, 142 S. Ct. at

2128, 2143 & 2156. Hundreds of millions of Plus-Ten Magazines are possessed and
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used for lawful purposes by law-abiding citizens—including self-defense, self-

defense training, and sporting (e.g., hunting, target practice, and competition

shooting). Plus-Ten Magazines enjoy Second Amendment protection, which is why

this Court must reverse the district court’s denial of a preliminary injunction and

direct the entry of a permanent injunction.

      A.     Plus-Ten Magazines are “arms” for purposes of the Second
             Amendment.

      Starting with Heller, the Supreme Court has considered “arms” to be

“[w]eapons of offence, or armour of defence,” 1 Dictionary of the English Language

106 (4th ed.) (reprinted 1978), or “any thing that a man wears for his defence, or

takes into his hands, or useth in wrath to cast at or strike another,” 1 A New and

Complete Law Dictionary; see also N. Webster, American Dictionary of the English

Language (1828) (reprinted 1989) (“Webster”) (similar). And courts around the

Nation agree that the right to possess “arms” includes a corollary right to possess the

tools needed to use them. 8 Thus, “[b]ecause magazines feed ammunition into certain




8
 See Duncan, 970 F.3d at 1146 (“Firearm magazines are “arms” under the Second
Amendment. Magazines enjoy Second Amendment protection for a simple reason:
Without a magazine, many weapons would be useless, including “quintessential”
self-defense weapons like a handgun.” (Citations omitted)); Kolbe v. Hogan, 813
F.3d 160, 175 (4th Cir. 2016) (“[T]he right to possess firearms for protection implies
a corresponding right to possess component parts necessary to make firearms
operable.” (Citation omitted)); see also Jackson v. City & Cnty. of S.F., 746 F.3d
953, 967 (9th Cir. 2014) (“[W]ithout bullets, the right to bear arms would be
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guns, and ammunition is necessary for such a gun to function as intended, magazines

are ‘arms’ within the meaning of the Second Amendment.” Ass’n of N.J. Rifle &

Pistol Clubs v. AG N.J. (“ANJRPC”), 910 F.3d 106, 116 (3rd Cir. 2018).

      The district court at least got this part of its analysis correct, despite the

District’s argument that magazines are firearm “accoutrements.” App. at _ [ECF

No. 17 at 9–11]. “Accoutrements” cannot be something that, if missing from a

firearm, renders the firearm virtually inoperable. As the district court noted, “[t]he

District’s logic . . . would allow it to ban all magazines,” which is a “result even the

District does not endorse.” App. at _ [ECF No. 28 at 14]. For that reason, this Court

should conclude, as it implicitly did in Heller II, 670 F.3d at 1260, that Plus-Ten

Magazines are indeed “arms” for purposes of the Second Amendment.

      The only question left in the inquiry, then, is: are Plus-Ten Magazines

commonly owned for lawful purposes?

      B.     Plus-Ten Magazines are commonly possessed for lawful purposes.

      There can be little debate that Plus-Ten Magazines are common. Indeed, this

Court concluded as much more than ten years ago: “fully 18 percent of all

firearms”—not just semi-automatic handguns—“owned by civilians in 1994 were

equipped with magazines holding more than ten rounds, and approximately 4.7



meaningless. A regulation eliminating a person’s ability to obtain or use ammunition
could thereby make it impossible to use firearms for their core purpose.”).

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million more such magazines were imported into the United States between 1995

and 2000.” Heller II, 670 F.3d at 1261. Again, other courts agree with this

conclusion.9

      Lest there be any doubt, the number of Plus-Ten Magazines possessed by

lawful Americans has continued to swell. A 2021 research paper from the

Georgetown McDonough School of Business estimates that there are some 542

million Plus-Ten Magazines currently in circulation in this Nation. See William

English, supra, at 2, 20, 24-25. In other words, there are almost two Plus-Ten

Magazines for every man, woman, and child in America. That study is particularly

relevant because respondents were asked their reasons for owning Plus-Ten

Magazines: 62.4 percent cited home defense, 41.7 percent cited defense outside the

home, 64.3 percent cited recreational target practice, 47 percent cited hunting, and

27.2 percent cited competitive shooting sports. Id. at 23. Equally revealing, the

16,000-plus respondents were asked if they had ever been in a situation where having

a Plus-Ten Magazine would have been useful for defensive purposes. Id. at 26-28.


9
 See, e.g., N.Y. State Rifle & Pistol Ass’n v. Cuomo, 804 F.3d 242, 255 (2d Cir.
2015) (“Even accepting the most conservative estimates cited by the parties and by
amici, . . . large-capacity magazines at issue are “in common use” as that term was
used in Heller.”); Fyock v. City of Sunnyvale, 25 F. Supp. 3d 1267, 1275 (N.D. Cal.
2014) (“The court finds that magazines having a capacity to accept more than ten
rounds are in common use and are therefore not dangerous and unusual. Magazines
having a capacity to accept more than ten rounds make up approximately 47 percent
of all magazines owned.”).

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Around 550 respondents gave an affirmative response, with most sketching out

details of the encounter. Id. at 28. Many examples are provided in the report. Id. at

28-33. The study thus refutes the conclusion of the district court that circumstances

requiring a Plus-Ten Magazine are rare. See App. at _ [ECF No. 28 at 16]. Any

suggestion that Plus-Ten Magazines are not owned and used for lawful purposes is

therefore unsupported.

      The reason so many of these magazines exist is simple: they come standard

with most of the popular handguns and long guns sold in America. This is a fact that

other courts have explicitly recognized. Plus-Ten Magazines “are commonly kept

by American citizens, as there are more than 75 million such magazines in

circulation in the United States,” which means they “are so common that they are

standard.” Kolbe, 813 F.3d at 174. Indeed, “on a nationwide basis most pistols are

manufactured with magazines holding ten to 17 rounds.” Id.10 Given that 200,000

stun guns was enough to meet the “common use” test, see Caetano, 577 U.S. at 420

(Alito, J., concurring), little more needs to be shown to satisfy this prong.




10
  See also Duncan v. Bonta, 19 F.4th 1087, 1140 (9th Cir. 2021) (Bumatay, J.,
dissenting) (“The state bans magazines that can carry over ten rounds—a firearm
component with a long historical lineage commonly used by Americans for lawful
purposes, like self-defense. Indeed, these magazines are lawfully owned by millions
of people nationwide and come standard on the most popular firearms sold today.”).

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      The fact that Plus-Ten Magazines are commonly possessed, which neither the

District nor the district court dispute, should end the Bruen inquiry here. Importantly,

under Heller and Bruen, defendants bear the burden of showing that Plus-Ten

Magazines are unprotected. See Teter v. Lopez, Case No. 20-15948, slip op. at 21

(9th Cir. Aug. 7, 2023). In Heller, the Supreme Court wrestled with what types of

weapons receive Second Amendment protection. See Heller, 554 U.S. 570 at 624–

25. The Supreme Court stated that weapons in “common use at the time” were

protected under the Second Amendment and only those not typically possessed by

ordinary citizens, such as short-barreled shotguns, were not protected. Id. Later, in

Bruen, the Supreme Court again affirmed this holding: “The Second Amendment

protects the possession and use of weapons that are in ‘common use at the time.’”

Bruen, 142 S. Ct. at 2128 (quoting Heller, 554 U.S. at 627). Full stop.

      The district court’s frolicking detour into whether “common use” means

“common lawful use” (which it then somehow transmogrified into “common use for

purposes of self-defense and no other lawful purpose,” and then restricted the word

“use” to actually firing shots) has absolutely no basis in Bruen. 11 Indeed, when the




11
  If actually firing rounds in self-defense were the test, then handguns themselves
arguably would not receive Second Amendment protection nor ammunition, because
in the overwhelming number of defensive gun uses defenders never fire a shot. See,
e.g., Matthew Maruster, No Shots Fired in 9 of 10 Defensive Gun Uses (DGUs),
ConcealedCarry.com           (Feb.        22,       2022),         available     at
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district court noted that “[t]he next question under step one of Bruen is whether Plus-

Ten Magazines are “typically possessed by law-abiding citizens for lawful

purposes,” App. at _ [ECF No. 28 at 15], the district court did not cite Bruen. Instead,

it cited Heller II, a case that applied the now-defunct means-ends balancing test that

Bruen instructed courts not to use because “‘[a] constitutional guarantee subject to

future judges’ assessments of its usefulness is no constitutional guarantee at all.’”

Bruen, 142 S. Ct. at 2129 (quoting Heller, 554 U.S. at 634). Naturally, the district

court’s analysis spun off the rails from then on.

      For this reason, the Court should hold that the district court committed

reversible error at this point in the analysis. The Second Amendment protects the

possession and “carrying of weapons that are . . . ‘in common use at the time,’”

which covers Plus-Ten Magazines. Bruen, 142 S. Ct. at 2143 (quoting Heller, 554

U.S. at 627). By grafting another inquiry onto the straightforward test articulated by

Bruen, the district court watered down the Second Amendment’s protection that

Bruen explicitly sought to reinforce.




https://www.concealedcarry.com/training-2/no-shots-fired-in-9-of-10-defensive-
gun-uses/ (last visited Aug. 21, 2023).

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      C.     Plus-Ten Magazines owned by law-abiding citizens are normally
             used for lawful purposes.

      Even if the district court had accepted that Plus-Ten Magazines are “typically

possessed by law-abiding citizens,” it further erred in its application of the Bruen

analysis. It beggars all belief to conclude that hundreds of millions of Plus-Ten

Magazines are mainly being used for unlawful purposes, and the District, which had

the burden of proof on this issue, failed to carry it. The contrary conclusion requires

little more than the application of logic and reason—but the district court decided to

instead focus on the minutiae of the expert reports that the District and its Amici

trotted out. Plus-Ten Magazines come standard with most of the top-selling self-

defense and sporting pistols and long guns. Their widespread use among law-abiding

civilians for self-defense and sport is exactly what the Supreme Court had in mind

in Heller, 554 U.S. at 627.

      That these commonly owned magazines are indeed used for “lawful purposes”

is bolstered by the limits imposed on the purchase of a handgun. For example, federal

law forbids transfers of firearms to: (1) persons with criminal violations (including

felonies and domestic violence misdemeanors), (2) persons with serious mental

disorders resulting in involuntary commitment, (3) persons dishonorably discharged

from the military, (4) persons subject to a domestic abuse restraining order,

(5) fugitives from justice, (6) illegal drug users, and (7) certain nonresident aliens.

See 18 U.S.C. § 922. The District of Columbia is even more restrictive. All firearms
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kept in the District must be registered with MPD. D.C. Code § 7-2502.01; D.C. Code

§ 7-2502.03. And to register a weapon in the District, a would-be firearm owner

must demonstrate that he or she is not likely to use that firearm for anything but a

lawful purpose. For instance, no person can register a firearm unless the individual

shows that he or she:

   •       Has not been convicted of a weapons offense (but not an infraction
           or misdemeanor violation under § 7-2502.08, § 7-2507.02, § 7-
           2507.06, or § 7-2508.07) or a felony in this or any other jurisdiction
           (including a crime punishable by imprisonment for a term exceeding
           one year);

   •       Is not under indictment for a crime of violence or a weapons offense;

   •       Has not been convicted within 5 years prior to the application of
           any:

       o      Violation in any jurisdiction of any law restricting the use,
              possession, or sale of any narcotic or dangerous drug;

       o      A violation of § 22-404, regarding assaults and threats, or § 22-
              407, regarding threats to do bodily harm, or a violation of any
              similar provision of the law of another jurisdiction;

       o      Two or more violations of § 50-2201.05(b), or, in this or any
              other jurisdiction, any law restricting driving under the influence
              of alcohol or drugs;

       o      Intrafamily offense punishable as a misdemeanor, including any
              similar provision in the law of another jurisdiction;

       o      Misdemeanor violation pursuant to § 7-2507.02 or § 7-2507.06;

       o      Violation of § 22-3133; or

       o      Violation of an extreme risk protection order pursuant to § 7-
              2510.11.
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D.C. Code § 7-2502.03. And perhaps most relevant here, a would-be firearm

registrant must “demonstrate satisfactorily, in accordance with a test prescribed by

the Chief, a knowledge of the laws of the District of Columbia pertaining to firearms

and, in particular, . . . the responsibilities regarding storage, and the requirements for

transport.” Id. To this end, he or she must “complete[] a firearms training and safety

class provided free of charge by the Chief” or show that such training was conducted

in another jurisdiction or through the U.S. military. Id.

      Based on these requirements, it makes sense to conclude that Plus-Ten

Magazines “come standard in Glocks, Berettas, and other handguns that are staples

of self-defense,” Duncan v. Becerra, 970 F.3d 1133, 1141 (9th Cir. 2020) (emphasis

added). “[T]hese magazines are lawfully owned by millions of people nationwide.”

Duncan v. Bonta, 19 F.4th 1087, 1140 (9th Cir. 2021) (Bumatay, P., dissenting)

(emphasis added). And to lawfully possess any weapon in the District, an individual

must affirm, and prove through training and tests, that he or she is only going to use

that firearm for “lawful purposes.” D.C. Code § 2502.03. But rather than accept this

proposition, the district court opted to “‘make difficult empirical judgments’ about

‘the costs and benefits of’” the Magazine Capacity Cap—i.e., one of the inquires the

Bruen Court explicitly instructed lower courts to avoid, “given their ‘lack [of]

expertise’ in the field.” Bruen, 142 S. Ct. at 2131. In doing so, the district court made

two fundamental errors.

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      First, the district court asked whether magazines that hold more than ten

rounds are “most useful in military service,” which would mean (in its erroneous

view) that such magazines “fall outside of the Second Amendment protection.” App.

at _ [ECF No. 28 at 16]. This, however, entirely misconstrued Heller, which held

only that “weapons that are most useful in military service” might not be covered by

the Second Amendment if they are “highly unusual in society at large.” Heller, 554

U.S. at 627. That plainly is not the case for the magazines at issue here. As has been

discussed, every court to address the issue of Plus-Ten Magazines has concluded

that they are anything but “highly unusual in society at large.”

      In any event, the district court made no attempt to explain how a weapon’s

utility in miliary service renders it outside the protection of the Second Amendment,

even though the same weapon has “useful purposes in” the “civilian . . . context[].”

App. at _ [ECF No. 28 at 17]. By that logic, the government could ban all weapons

(including pocket-knives) because the nature of military engagement necessarily

means that every weapon (even a pointy stick) will be more useful in that context

than as a part of civilian life. It also bears noting that virtually all modern firearms

have a military heritage. For example, the highly popular Glock handgun was

originally developed for the Austrian military, and the Beretta 92F was adopted as

the standard handgun of the U.S. military in the 1980s (replacing the Colt Model

1911, which in turn replaced revolvers). By the district court’s logic, all of these

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“military” firearms could be banned, even though they are among the most popular

self-defense firearms in the Nation. See Part I(D), infra, at 37-38.

      Second, the district court tried to figure out whether Plus-Ten Magazines “are

in fact used for self[-]defense”—meaning, in the district court’s view, whether

civilians regularly fire more than ten shots in engagements with violent criminals.

App. at _ [ECF No. 28 at 20]. This sort of empirical bean-counting is precisely what

Bruen forbade. 142 S. Ct. at 2131. Moreover, this cramped view of “use” makes no

sense. But even meeting the district court on these terms, its conclusion was in error.

      “Use” of a firearm does not mean that it must be fired. And use of a magazine

does not mean that all rounds contained in it must be fired, or even that any rounds

must be fired from it. Magazines are “used” every time they are carried in a firearm

or possessed for home defense. At least one court has explicitly recognized this

point: “By invoking the phrase ‘common use,’ the Supreme Court simply meant that

arms must be commonly kept for lawful self-defense.” Fyock v. City of Sunnyvale,

25 F. Supp. 3d 1267, 1276 (N.D. Cal. 2014). This makes sense, given common

parlance. “Use” is defined as “[t]he application or employment of something; esp.,

a long-continued possession and employment of a thing for the purpose for which it

is adapted, as distinguished from a possession and employment that is merely

temporary or occasional.” Use, Black’s Law Dictionary (11th ed. 2019).




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      During the COVID-19 pandemic, for example, the Centers for Disease and

Control (“CDC”) released a four-step guide titled “How To Use Your N95.” The

guide included these steps: (1) “Wash your hands”; (2) “Check your N95”; (3) “Put

on the N95”; and (4) “Keep Your N95 Snug.”12 By the government’s own reason,

then, “use” of an N95 occurs far more often than the moments when respiratory

droplets of COVID-19 are stopped from spreading among the population (the

ultimate purpose for the mask). Equally relevant, use of a mask during the pandemic

provided a sense of security and preparation—allowing the person to interact with

others and the world with less fear of infection. As commonly understood, therefore,

a mask’s utility includes its potential to protect a person even where the spread of

COVID-19 is less likely (e.g., outdoor gatherings where the participants have all

tested negative).

      Consider another example, which confirms that whether something is in

common does not depend on the number of times it satisfies its ultimate purpose.

Because of universal traffic laws, seatbelts are installed in vehicles and are required

to be worn to protect drivers and passengers in the event of a crash. Even so, car

accidents arise during a miniscule fraction of the total automobile journeys that take


12
   Available    at    https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-
sick/use-n95-
respirator.html#:~:text=Place%20the%20N95%20under%20your,your%20neck%2
C%20below%20your%20ears (last visited Aug. 21, 2023).

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place each day. 13 For every car accident, more than 70,000 car trips are completed

free of incident. Still, 90 percent of those drivers use their seat belts.14 By the district

court’s logic, therefore, the “use” of seat belts would be “astonishingly rare.”

       These examples make clear that Plus-Ten Magazines are commonly used for

lawful purposes—even if the guns to which they are attached are not actually fired.

Much like seatbelts and N95 masks, these magazines provide preparedness and

security in the unlikely and unfortunate event that they become necessary. As the

Supreme Court explained in Heller, the purpose of the Second Amendment was to

allow persons to be armed and ready in the event of confrontation. See 554 U.S. at

584. Under the district court’s cramped view of “use,” a firearm would not be used




13
  Of the more than 400 billion annual car trips taken in the United States, 5.25
million result in accidents. See Bureau of Transportation Statistic, National
Household Travel Survey Daily Travel Quick Facts (May 31, 2017)
https://www.bts.gov/statistical-products/surveys/national-household-travel-survey-
daily-travel-quick-facts (last visited Aug. 21, 2023); Christina Bieber, Car Accident
Statistics        For        2023,        Forbes        (Jan.        23,       2023)
https://www.forbes.com/advisor/legal/car-accident-
statistics/#:~:text=Car%20accidents%20are%20a%20fact,course%20of%20a%20si
ngle%20year (last visited Aug. 21, 2023).
14
   See National Highway Traffic Safety Administration, Seat Belts (available at
https://www.nhtsa.gov/risky-driving/seat-
belts#:~:text=One%20of%20the%20safest%20choices,estimated%2014%2C955%
20lives%20in%202017); National Highway Traffic Safety Administration, Proper
Seatbelt                   Use                      (available               at
https://www.nhtsa.gov/sites/nhtsa.gov/files/seatbeltuse.pdf).

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for self-defense unless it is actually fired. That is inconsistent with how the Supreme

Court has approached the Second Amendment.

         D.    The District cannot show that the Nation has historically
               regulated the number of rounds a gun may hold.

         The above makes clear that, under Heller and Bruen, the District’s Magazine

Capacity Cap is unconstitutional because it bans arms in common use. As Bruen

noted:

         [W]e found it “fairly supported by the historical tradition of prohibiting
         the carrying of ‘dangerous and unusual weapons’” that the Second
         Amendment protects the possession and use of weapons that are “‘in
         common use at the time.’” Id., at 627,128 S. Ct. 2783 (first citing 4 W.
         Blackstone, Commentaries on the Laws of England 148-149 (1769);
         then quoting United States v. Miller, 307 U.S. 174, 179 (1939)).

142 S. Ct. at 2128; see also Heller, 554 U.S. at 581 (“The Second Amendment

guaranteed to ‘all Americans’ the right to bear commonly used arms in public subject

to certain reasonable, well-defined restrictions.”). Both Bruen and Heller identified

only one aspect of the Nation’s history and tradition that is sufficiently analogous

to—and therefore capable of justifying—a ban on arms: the tradition, dating back to

the Founding, of restricting “dangerous and unusual weapons” that are not “in

common use at the time.” Bruen, 142 S. Ct. at 2128. By contrast, where a type of

arm is in common use, there is by definition no historical tradition of banning it.

Thus, for the type of restriction here, the Supreme Court has already analyzed the

relevant historical tradition and established its scope: “dangerous and unusual”


                                            32
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weapons may be subject to a ban, but arms “in common use at the time” may not.

Id.

      Nevertheless, the district court incorrectly concluded that a “nuanced”

consideration was required, because it concluded the District’s evidence “shows that

[large capacity magazines] are the object of ‘dramatic technological changes’ and

implicate ‘unprecedented societal concerns.’” App. at _ [ECF No. 28 at 27], citing

Bruen, 142 S.Ct. at 2132. Nothing in Bruen’s discussion of a “nuanced approach,”

however, supports a departure from the Nation’s historical tradition of protecting

arms in common use, like the magazines at issue.

      Significantly, the district court failed to point to any historical analogue from

either the Founding period or around the time of reconstruction to support a ban on

common arms. App. at _ [ECF No. 28 at 32-40]. For good reason, since the Nation’s

historical tradition does not support bans on commonly possessed arms. Given the

utter dearth of any historical tradition supporting such prohibitions,15 the District’s


15
   See David B. Kopel & Joseph G.S. Greenlee, The History of Bans on Arms Before
1900,      50      J.    Legis.    (forthcoming       2024)      (available     at
https://davekopel.org/2A/LawRev/The%20History%20of%20Bans%20on%20Typ
es%20of%20Arms%20Before%201900.pdf). The abstract of the article states that
it examined all American state, territorial, and colonial laws that prohibited
possession or sale of any type of arm. See App. at _ [ECF No. 26 at 2].
Among the arms studied were handguns, repeating guns, Bowie knives,
daggers, slungshots, blackjacks, brass knuckles, and cannons. Id. Besides
describing prohibitory laws, the article detailed other types of regulation, such
as forbidding concealed carry, forbidding all carry, restricting sales to minors,
licensing dealers, or taxing possession. Id. The article claims to be the first
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Magazine Capacity Cap must fail. The district court’s contrary conclusion—based

on seven short-lived, Prohibition-era, semi-relevant laws—was wrong in its

analysis, defies Heller and Bruen, and should be reversed.

      1.    Plus-Ten Magazines have existed for centuries and have been in
            common use during (and long after) the adoption of the Second
            Amendment.

      Despite the District’s best attempt to muddy the historical record, “[f]irearms

with greater than ten round capacities existed even before our Nation’s founding,

and the common use of [such magazines] for self-defense is apparent in our shared

national history.” Duncan, 970 F.3d at 1147. The first known firearm able to fire

more than ten rounds without reloading was a sixteen-shooter created around 1580

that used “superimposed” loads (each round stacked on top of the other). LEWIS

WINANT, FIREARMS CURIOSA 168-70 (2009) (1st pub. 1954). Multi-shot guns

continued to develop over the next few decades, and by 1658, the British army was




comprehensive study of historic American laws about knives, swords, and blunt
weapons, and the first comprehensive study of the types of arms for which
colonies and states required ownership by militiamen, by some men not in
the militia, and by some women. Id.

The abstract further states that arms regulation laws and cases of the 19th
century were examined in the context of the century’s advances in firearms.
Id. The Article concludes that prohibitions on semiautomatic rifles and
magazines lack foundation in American legal history. Id. In contrast, other
regulations, such as restricting the purchase of certain arms by minors, have a
stronger historic basis. Id.

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issuing them to its soldiers. Clayton E. Cramer & Joseph Olson, Pistols, Crime, and

Public Safety in Early America, 44 Willamette L. Rev. 699, 716-18 (2008). One of

the more successful of the early designs was the “Puckle Gun,” which used pre-

loaded cylinders of eleven charges and fired a separate charge with each pull of the

trigger, much like a modern revolver. Id. at 717.

      By the late 1700s, guns with twenty- and twenty-two-shot magazines were in

circulation. JOHN PLASTER, THE HISTORY OF SNIPING & SHARPSHOOTING 69-70

(2008). One such firearm was the Girandoni air rifle, which was invented around

1779 for use in European armies. JIM SUPICA, DOUG WICKLUND & PHILIP SCHREIER,

TREASURES OF THE NRA NATIONAL FIREARMS MUSEUM 31 (2013). By the early

nineteenth century, however, that rifle was being used outside the military context.

For example, Merriweather Lewis famously carried one on the Lewis & Clark

expedition. JIM GARRY, WEAPONS OF THE LEWIS & CLARK EXPEDITION 91-103

(2012).

      Firearm technology progressed rapidly in the 19th Century. For instance, the

Jennings multi-shot flintlock rifle was introduced in 1821. Borrowing the

superimposed projectile design from centuries before, the Jennings rifle could fire

twelve shots before reloading. NORM FLAYDERMAN, FLAYDERMAN’S GUIDE TO

ANTIQUE AMERICAN FIREARMS AND THEIR VALUES 683 (9th ed. 2007). Meanwhile,

in the 1830s, manufacturers began marketing “pepperbox” pistols that had multiple

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barrels capable of firing sequentially. See LEWIS WINANT, PEPPERBOX FIREARMS

(2001) (1st pub. 1952). Some models had twelve independently-firing barrels and

there were even models with eighteen or twenty-four. JACK DUNLAP, AMERICAN,

BRITISH AND CONTINENTAL PEPPERBOX FIREARMS 148-49, 167 (1964) Pepperboxes

were commercially successful, and it took some years for Samuel Colt’s revolvers

(also invented in the 1830s) to surpass them in the marketplace.

      The decades leading into the Civil War saw many different firearm designs

intended to increase ammunition capacity. For example, the Bennet & Haviland

Rifle (which was a rifle version of the pepperbox with twelve manually rotated

chambers) began circulating in 1838. FLAYDERMAN, supra, at 711. This model

allowed the carrier to bring a new chamber—pre-loaded with powder and shot—into

the breach, ready to be fired. Id. Meanwhile, in the 1850s, Alexander Hall and

Colonel Parry W. Porter each created rifles with magazine capacities greater than

ten. Id. at 713. Hall’s design had a fifteen-shot rotating cylinder (similar to a

revolver), while Porter’s design used a thirty-eight-shot canister magazine. Id. at

716. Although the District and the district court questioned the efficacy of these early

firearms, see App. at _ [ECF No. 28 at 29 n.10], the key point is that they existed

from the Founding through the adoption of the 14th Amendment. Thus, the

suggestion that firearms able to fire more than ten shots without reloading represent

a “dramatic technological change” is wrong. Throughout the 19th Century the

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firearms industry evolved on a steady course similar to other industries with notable

breakthroughs including Samuel Colt’s use of standardized interchangeable parts

and Daniel Wesson’s and Oliver Winchester’s invention of the metallic cartridge

(which contained gunpowder, primer, and ammunition all in one place).

      The metallic cartridge was particularly suited to the lever-action mechanism

also developed during this time. This innovation was introduced to the public in

1855, in the form of the lever-action rifle produced by the Volcanic Repeating Arms

Company. HAROLD F. WILLIAMSON, WINCHESTER: THE GUN THAT WON THE WEST

13, 25 (1952). The rifle had up to a thirty-round tubular magazine under the barrel

that was operated by manipulating a lever on the bottom of the stock. The lever-

action allowed a shooter to quickly expel spent cartridges and ready the firearm for

additional shots. FLAYDERMAN, supra, at 304-06.

      The Volcanic rifle later evolved into the Model 1866 Winchester repeating

rifle. The Model 1866 was designed for defense against “sudden attack, either from

robbers or Indians,” and became wildly popular in the United States. R.L. WILSON,

THE WINCHESTER: AN AMERICAN LEGEND 11, 32 (1991), and see FLAYDERMAN,

supra, at 306 (noting that around 170,000 of the model were produced). According

to advertising, the Model 1866 could “be fired thirty times a minute,” which made

for a versatile and highly marketable firearm. LOUIS A. GARAGLIA & CHARLES G.

WORMAN, FIREARMS OF THE AMERICAN WEST 128-29 (1985). “[I]n terms of large-

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scale commercial success, rifle magazines of more than ten rounds had become

popular by the time the Fourteenth Amendment was being ratified.” David B. Kopel,

The History of Firearm Magazines and Magazine Prohibitions, 78 Alb. L. Rev. 849,

851 (2015).

      Next came the Winchester Model 1873, “the gun that won the West.” The

Model 1873 (and its successor, the Model 1892)16 were lever actions holding twelve

to seventeen rounds in tubular magazines. Over 720,000 copies of the Model 1873

were produced from 1873 to 1919, while more than a million copies of the Model

1892 were produced from 1892 to 1941. FLAYDERMAN, supra, at 307-12. These

Winchester models competed with the equally iconic pump action Colt Lightning

rifle, which held up to fifteen rounds in calibers of .32-20, .38-40, and .44-40. Id. at

122-23 (noting that 89,000 copies of the Colt Model were produced between 1887

and 1904). Meanwhile, the Evans Repeating Rifle—which had a rotary helical

magazine in the buttstock holding thirty-four rounds—was also commercially


16
  The Winchester Model 1892 is the rifle featured in the TV series, The Rifleman.
The opening sequence of the show had Chuck Connors rapidly firing twelve shots
from the rifle in five seconds. See https://www.youtube.com/watch?v=5Rl-
FGETfS4. That commonly owned rifle, still sold today, cannot be possessed in the
District   of    Columbia       due     to   its    magazine     capacity.    See
https://www.sportsmans.com/shooting-gear-gun-supplies/rifles/winchester-model-
1892-satin-walnut-lever-action-rifle-44-40-winchester-
24in/p/1786543?msclkid=67152a8b59a01118e5044e6fafc0b23f&utm_source=bin
g&utm_medium=cpc&utm_campaign=Bing%20-%20DSA%20-
%20Category%20Pages&utm_term=shooting%20&utm_content=Range%20Gear

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successful. See DWIGHT B. DEMERITT, JR., MAINE MADE GUNS & THEIR MAKERS

294-95 (rev. ed.) (Friends of the Maine State Museum, 1997); FLAYDERMAN, supra,

at 694 (noting that over 12,000 copies of the model were produced).

       Aside from rifles, the first handgun to use a detachable box magazine was the

ten round Jarre harmonica pistol (which was patented in 1862). WINANT, FIREARMS

CURIOSA, supra, at 244-45; SUPICA, supra, at 33. Around the same time, pin-fire

revolvers with capacities of up to twenty or twenty-one rounds entered the market

and became popular in Europe and the United States. WINANT, FIREARMS CURIOSA,

supra, at 60-61, 63, 67-71; SUPICA, supra, at 48-49. Revolvers with other firing

mechanisms also included models with more than seventeen rounds. WINANT,

FIREARMS CURIOSA, supra, at 207-08 (showcasing the Enouy “Ferris wheel”

revolver, which had forty-two shots in seven cylinders). The Josselyn belt-fed chain

pistol introduced in 1866, and various other chain pistols, had even greater capacity.

See id. at 204-08 (highlighting the Guycot 25-shot chain pistol and one-hundred-

shot chain rifle).

       By the turn of the 20th century, manufacturers were producing semi-automatic

pistols with a capacity of more than ten rounds. For example, Mauser’s C96 semi-

automatic pistol (which had a magazine of six, ten, or twenty rounds) began

circulation in 1896 and was very successful. See 2014 STANDARD CATALOG OF




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FIREARMS 708-09 (Jerry Lee ed. 2013).17 Likewise, the Luger semi-automatic pistol

(which used a magazine containing seven, eight, or thirty-two rounds) was

introduced a few years later, in 1899, and was also very popular. See JEAN-NOËL

MOURET, PISTOLS AND REVOLVERS 126-27 (1993); SUPICA, supra, at 86.

      The 20th century also saw the introduction of various firearms capable of

holding more than ten rounds. One example was the Savage Repeating Arms

Company’s bolt action Model 1911, a twenty-shot repeater with a tubular magazine

in .22 caliber. JIM PERKINS, AMERICAN BOYS’ RIFLES 1890-1945, at 191-92 (1976).

Similarly, the Remington Model 12B Gallery Special (introduced in 1910) had an

optional extended magazine that held twenty-five rounds. ROY MARCOT,

REMINGTON, AMERICA’S OLDEST GUN MAKER 149 (1998). And in 1927, the Auto

Ordinance Company introduced their semi-automatic rifle that used thirty-round

magazines. See 2014 STANDARD CATALOG OF FIREARMS, supra, at 84.

      By the 1930s, manufacturers were producing many tubular magazine rifles in

.22 caliber. Based on firearms catalogs from 1936 to 1971, more than 20 different

firearm models with magazines of sixteen to thirty rounds were marketed and in

circulation throughout the United States. See SHOOTER’S BIBLE TREASURY

REPRODUCTION 108-09, 112, 123, 124, 126, 127, 140 (1960); BROWNELL


17
  This annually published guide was relied on by Kirkland v. District of Columbia,
70 F.3d 629, 635 n.3 (D.C. Cir. 1995) (citing the 1995 5th edition).

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INDUSTRIES INC., THE GUNSMITH MART NO. 2 at 212, 214, 216, 218 (1950); THE

“SHOOTER’S BIBLE” NO. 50 at 80, 87, 91, 101, 103 (1959); JAY KIMMEL, SAVAGE

AND STEVENS ARMS 49, 53, 79, 102, 165, 167-68, 177 (5th ed. 1990). 18 Meanwhile,

in 1935, Browning introduced the Hi-Power pistol (which was sold with a thirteen-

round detachable magazine). The pistol is still in production today. See 2014

STANDARD CATALOG, supra, at 182-83, 432-33.

      The advent of World War II saw the production of the M-1 carbine—designed

specifically for the citizen solder—and it has remained a popular rifle for civilians

ever since. LARRY L. RUTH, WAR BABY COMES HOME: THE U.S. CALIBER .30

CARBINE (1993); BRUCE N. CANFIELD, COMPLETE GUIDE TO THE M1 GARAND AND

THE M1 CARBINE 163, 165, 167, 206-08, 279 (2d ed. 2010). Starting in 1963, the

federal government’s Civilian Marksmanship Program (an initiative created by

Congress) put nearly a quarter-million of these rifles into the hands of law-abiding

citizens at steeply discounted prices. See Civilian Marksmanship Program, About Us

(available at https://thecmp.org/about/); M1 Carbines Inc., Post WWII Commercially


18
   Several courts have relied on The Shooter’s Bible. See United States v. Olson,
1995 U.S. App. LEXIS 36973 (9th Cir. Dec. 15, 1995) (book was properly used as
a source for ATF agent’s expert opinion); United States v. Precise Import Corp., 458
F.2d 1376, 1377 (Cust. & Pat. App. 1972) (record reflects district court’s admission
of pages from the 1967 edition as an exhibit); United States v. Fisher, 353 F.2d 396,
399 (5th Cir. 1965) (Gewin, J., dissenting) (noting that experts had relied on the
book); Potter v. United States, 167 Ct. Cl. 28, 80 n.1 (Ct. Cl. 1964) (citing the book
for the history of Gabilondo firearms).

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Manufactured M1 Carbines (available at http://www.m1carbinesinc.com/). The M1

carbine uses standard detachable box magazines of fifteen and thirty rounds.

      The most popular rifle in American history, however, is the AR-15. The model

was brought to market in 1963 with a then-standard magazine capacity of twenty

rounds (the thirty-round standard magazine was developed a few years later).

PATRICK SWEENEY, GUN DIGEST BOOK OF THE AR-15 104 (2005). 19 By 1969, there

were many other firearms on the market with magazines holding twenty or thirty

rounds—including the Armalite-180 (twenty-round optional magazine), the J&R 68

carbine (thirty rounds), and the Eagle Apache carbine (thirty rounds). GUN DIGEST

24TH ANNIVERSARY 1970 DELUXE EDITION 294 (John T. Amber ed. 2014). Then, in

1974, Springfield Armory introduced the M1A semi-automatic rifle (which uses a

twenty-round detachable box magazine). 2014 STANDARD CATALOG, supra, at 1102.

The next year, the Ruger Mini-14 was introduced, with manufacturer-supplied

standard five-, ten-, or twenty-round detachable magazines. Id. at 1173. Both the

M1A and the Mini-14 are very popular to this day.




19
   Several courts have relied on issues of the Gun Digest. See A. Uberti and C. v.
Leonardo, 892 P.2d 1354, 1364 (Ariz. 1995); Citizens for a Safer Community v. City
of Rochester, 627 N.Y.S. 2d 193, 203 n.5 (N.Y. Sup. 1994); Sturm, Ruger & Co. v.
Arcadia Mach. & Tool Inc., 1988 U.S. Dist. LEXIS 16451 (C.D. Cal. 1988); Couplin
v. State, 378 A.2d 197 205 n.2 (Md. App. 1977).

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      Finally, of recent note is the Beretta Model 92, which entered the market in

1976. The 9mm pistol with a fifteen-round magazine has been a tremendous

commercial success in the last forty years. In various configurations (currently the

Beretta 92FS), the Beretta is one of the more popular of all modern handguns. Id. at

121-26. Indeed, in 1985, the M9 version of this pistol became the standard U.S.

military issue sidearm. See Marine Corps Association, Last Line Of Defense: A

History Of The Beretta M9. 20 Also coming on the market around the same time were

handguns such as the Browning Double Action (fourteen rounds), the L.E.S. P-18

(eighteen rounds), and the Heckler & Koch VP 70Z (eighteen rounds). GUN DIGEST

34TH ANNIVERSARY 1980 DELUXE EDITION 297-98 (Ken Warner ed., 1979). The

Glock pistol in various configurations became popular in the United States in the

1980s for self-defense and recreational shooting. See generally Paul Barrett, Glock:

The Rise of America’s Gun, ISBN 978-0-307-71995-9 (1st paperback ed., 2012).

Owing to its widespread adoption by local police and federal law enforcement

agencies, it became one of the top-selling civilian self-defense pistols and earned the

nickname of “America’s Gun.” Id. Most Glock models come standard with



20
  Available at https://mca-marines.org/blog/leatherneck/last-line-of-defense-a-
history-of-the-beretta-
m9/#:~:text=45%2Dcaliber%20pistol%2C%20left%2C,of%20the%20U.S.%20Ar
med%20Forces. The M9 has now been replaced with the Sig Sauer P320, which as
mentioned above is one of the four top selling civilian self-defense pistols.

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magazines capable of holding more than ten rounds, including the top-selling Model

Glock 19.21

              2.   Laws restricting magazine capacity are scarce, and of too
                   recent vintage to inform the metes and bounds of the
                   Second Amendment.

      As detailed above, guns capable of firing more than ten rounds predate the

Second Amendment by some two-hundred-years and have been in use throughout

the Nation’s history. The widespread sale and possession of such firearms

throughout the 19th and 20th centuries (at times at the behest of the federal

government) explains the dearth of laws regulating magazine capacity. Indeed, the

only laws the district court offered as analogies to the District’s Magazine Capacity

Cap include a smattering of Prohibition-era laws designed to regulate machine guns,

all since repealed except the District’s own, enacted some one-hundred-fifty years

after the Second Amendment’s adoption). See App. at _ [ECF No. 28 at 32-34].22


21
   See, e.g., Glock 17 (9mm, seventeen rounds), Glock 19 (9mm, fifteen rounds),
Glock 20 (10mm, fifteen rounds), Glock 21 (.45 ACP, thirteen rounds), Glock 22
(.40 S&W, fifteen rounds), Glock 23 (.40 S&W, thirteen rounds), Glock 25 (.380
cal., fifteen rounds), Glock 31 (.357 Sig., fifteen rounds), Glock 32 (.357 Sig.
thirteen, rounds).
22
  The district court did not substantively discuss, and thus did not rely upon, the
District’s proffered regulations from the colonial period, the Founding period, and
the later 19th century. App. at _ [ECF No. 28 at 40 n.17]. Those laws involved
regulations on powder storage, prohibitions on setting “trap guns,” and restrictions
on concealed carry of handguns, blunt weapons and Bowie knives. The Plaintiffs
explained in detail why these regulations did not support the District’s Magazine
Capacity Cap. See App. at _ [ECF No. 24 at 26-32]. The powder laws were fire-
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Specifically, the district court relied on the laws of six jurisdictions: Massachusetts,

Michigan, Minnesota, Ohio, Rhode Island, Virginia, and the District of Columbia.

All appear directed toward machine guns, though some defined a machine gun to

include firearms with semiautomatic functioning as well.

      In 1927, for example, Michigan prohibited “machine gun[s] or firearm[s]

which can be fired more than sixteen times without reloading.” 1927 Mich. Laws

887, 888. That statute is silent as to whether it was intended to apply only to fully

automatic weapons or was a general capacity restriction. There appears only one

case considering the constitutionality of the statute and that case, People v. Brown,

235 N.W. 245 (1931), upheld the statute as to blackjacks. Significantly, the court

explained its view that the statute did not prohibit “ordinary guns . . . or other

weapons usually relied upon by good citizens for defense or pleasure.” Id., 235 N.W.

at 247. And the court quoted from State v. Duke, 42 Tex. 455, 458 (1874), cited in

Heller, that:




prevention regulations and thus dissimilar to the District’s law in question. Id. at 27-
28. The trap gun laws did not ban any arm, but prohibited a particular use of a firearm
that is extraordinarily dangerous to innocent persons. Id. at 28. And the concealed-
carry restrictions of various arms with rare exceptions neither prohibited possession
nor carry but regulated the method of carry. Id. at 28-31. If these regulations were
insufficient to restrict possession of handguns, see Heller, 554 U.S. 570, or the
carrying of handguns in public, see Bruen, 142 S. Ct. 2111, these laws are plainly
insufficient to restrict the possession of the Plus-Ten Magazines at issue here.

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      The arms which every person is secured the right to keep and bear (in
      the defense of himself or the State, subject to legislative regulation),
      must be such arms as are commonly kept, according to the customs of
      the people, and are appropriate for open and manly use in self-defense,
      as well as such as are proper for the defense of the State.

Duke, 42 Tex. at 458 (emphasis added). It appears no court ever construed whether

this law actually applied to firearms other than fully automatic weapons.

      In 1927, Rhode Island also enacted a law that was similar to Michigan’s. See

R.I. Acts 1927, ch. 1052 § 1 (twelve-shot limitation). Around the same time, Ohio

required licensing firearms capable of firing more than eighteen shots without

reloading (later modified to a limit of thirty-one rounds). 1933 Ohio Laws, No. 166,

§ 12819-3, at 189. It bears emphasizing that Michigan, Rhode Island, and Ohio’s

laws were repealed in 1959, 1975, and 2014, respectively. See Act of July 16, 1959,

No. 176, § 224, at 250; 1975 R.I. Pub. Laws, ch. 278, § 11-47-2, at 738; H.R. 234,

2013-2014 Leg., 130th Sess. § 2 (Ohio 2014). The repeal of those laws is significant

because, as the Supreme Court explained in Bruen, state regulations that were later

rejected can “provide some probative evidence of [a similar modern regulation’s]

unconstitutionality.” 142 S. Ct. at 2131.

      Meanwhile, the Massachusetts statute on which the District and the district

court relied (1927 Mass. Acts 413, 413-14) was not an ammunition capacity

restriction at all, and did not even prohibit possession of fully automatic machine




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guns. Instead, it was a licensing statute. It thus cannot support the District’s law.23

Likewise, the Minnesota statute cited by the district court applied principally to fully

automatic weapons. See Minn. Laws 231, 232. It did not apply to semi-automatic

firearms unless they had been altered or modified to increase their ammunition

capacity from their original design. Finally, as the district court acknowledged, the

Virginia statute (1934 Va. Acts 137-39) did not prohibit possession of what it

defined as a machine gun. And the law was superseded when Virginia adopted the

Uniform Machine Gun Act, see Va. Code § 18.2-288 et seq. That law defines a

machine gun as “any weapon which shoots or is designed to shoot automatically

more than one shot, without manual reloading, by a single function of the trigger.”

Id. § 18.2-288(1). Virginia does not prohibit possession if the machine gun is

registered with the state police, and Virginia has no limitation on the possession of

magazines based on their capacity.

         Nor can the District turn to its own history with magazine regulation. In 1932,

Congress passed a D.C. law prohibiting the possession of a firearm that “shoots, is

designed to shoot[,] or can be readily converted to shoot . . . semi-automatically,

more than 12 shots without reloading.” Act of July 8, 1932, ch. 465, §§ 1, 8 (47 Stat.

650, 650-52). In contrast, when Congress enacted the National Firearms Act of 1934



23
     For the Court’s convenience the statute is included in the statutory addendum.

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to impose stringent regulations on machine guns, it chose to impose no restrictions

on magazines. Act of June 26, 1934, ch. 757 (48 Stat. 1236). When the District

achieved home rule in 1975, the Council did not repeal the 1932 law, but instead

promptly enacted the bans on handguns and on self-defense with any gun in the

home, which were later ruled unconstitutional in Heller. See Firearms Control

Regulations Act of 1975, Law 1-85 (23 D.C.R. 2464). The D.C. government

interpreted the law so that it outlawed all magazines and all semi-automatic

handguns. See Vivian Chu, Cong. Res. Svc., DC Gun Laws and Proposed

Amendments (2011). As it were, D.C. stands alone in its historically heavy-handed

restriction of magazines.

      Even if the laws of these six states and the District could be credited as

analogues for the Magazine Capacity Cap at issue, they do not show a historical

tradition. See, e.g., Espinoza v. Montana Dep’t of Revenue, 140 S. Ct. 2246, 2258-

59 (2020) (the Court held that “more than 30” provisions of state law enacted “in the

second half of the 19th Century” could not “evince a tradition that should inform our

understanding of the Free Exercise Clause” when those provisions lacked grounding

in Founding Era practice); Firearms Policy Coalition v. McGraw, Case No. 4:21-

cv-01245, slip op. at 18-19 (N.D. Tex. Aug. 25, 2022) (finding that age-based

restrictions on gun use and possession enacted “between 1856 and 1899 [in]




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approximately 20 jurisdictions (of the then 45 states)” failed to establish a historical

tradition of restricting the public carry of weapons by 18 to 20-year-olds).

      Moreover, even if the laws the district court cited were sufficient to show a

historical tradition in the Prohibition era, those laws must be disregarded because

they conflict with Founding era tradition (a matter that the district court denied, but

never substantively addressed). See App. at _ [ECF No. 28 at 36]. Again, the district

court got it wrong. These since-repealed Prohibition-era laws stand out in

comparison to the utter lack of laws at the Founding or through the end of the 18th

century purporting to ban possession of commonly owned arms.

      Perhaps the District could rejoin that in the Prohibition era, Plus-Ten

Magazines and guns employing them could not be considered commonly owned,

(though the evidence dating back to the 1600s is to the contrary).24 But even if that

were true, it would make no difference, since today these arms are undoubtedly in

common use. In fact, Bruen specifically addressed this question in the context of

New York’s reliance on colonial era statutes. The Court said:




24
  With respect to machine guns, the targets of these statutes, Plaintiffs agree they
were not commonly owned when these laws were enacted, and they are arguably not
commonly owned today. As Heller explained, these firearms would not enjoy
Second Amendment protection because of this fact. See 554 U.S. at 627.

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      [E]ven if respondents’ reading of these colonial statutes were correct, it
      would still do little to support restrictions on the public carry of
      handguns today. At most, respondents can show that colonial
      legislatures sometimes prohibited the carrying of “dangerous and
      unusual weapons”—a fact we already acknowledged in Heller. See 554
      U.S. at 627, 128 S. Ct. 2783. Drawing from this historical tradition, we
      explained there that the Second Amendment protects only the carrying
      of weapons that are those “in common use at the time,” as opposed to
      those that “are highly unusual in society at large.” Ibid. (internal
      quotation marks omitted). Whatever the likelihood that handguns were
      considered “dangerous and unusual” during the colonial period, they
      are indisputably in “common use” for self-defense today. They are, in
      fact, “the quintessential self-defense weapon.” Id., at 629, 128 S. Ct.
      2783. Thus, even if these colonial laws prohibited the carrying of
      handguns because they were considered “dangerous and unusual
      weapons” in the 1690s, they provide no justification for laws restricting
      the public carry of weapons that are unquestionably in common use
      today.

Bruen, 142 S. Ct. at 2143 (emphasis added). Since Plus-Ten Magazines are

“unquestionably in common use today,” they cannot be banned. Id.

      The only widespread restriction on magazine capacity the District could

arguably point to is the 1994 federal ban on new Plus-Ten Magazines. The law was

in effect for only ten years, at which point Congress allowed it to sunset. Pub. L.

103-322, Title XI, § 110105(2) (108 Stat. 2000). The effects of this law, however,

were studied extensively by Dr. Christopher Koper, who reported on the law’s

efficacy in 2004. Critically, in his view, “the ban has not yet reduced the use of [such

magazines] in crime.” Christopher Koper, Updated Assessment of the Federal

Assault Weapons Ban: Impacts on Gun Markets and Gun Violence, 1994-2003 at 2

(2004). Dr. Koper was critical of the notion that laws limiting magazine capacity
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could reduce criminal activity—observing that “[b]ecause offenders can substitute

non-banned guns and small magazines for banned [guns and magazines], there is not

a clear rationale for expecting the ban to reduce assaults and robberies with guns.”

Id. at 81. Dr. Koper also noted that state-level firearm bans have likewise not altered

crime. Id. at 81, n.95.

      The District supports its Magazine Capacity Cap by pointing to a few states

that have very recently enacted restrictions on magazines. If anything, however,

those laws emphasize the severity of the District’s restriction. Hawaii and New York,

for example, prohibit the possession of all magazines over a certain capacity—but

Hawaii’s law applies only to handguns. Haw. Rev. Stat. § 134-8(c); N.Y. Penal L.

§ 265.00(23). Maryland, meanwhile, prohibits sales of such magazines, but does not

ban possession or importation. Md. Code Ann., Crim. L. § 4-305. Then there is

Colorado (which bans magazines capable of holding fifteen rounds or more) and

Connecticut (which bans new and unregistered Plus-Ten Magazines); these states

allow current owners to retain possession. Col. Rev. Stat. § 18-12-302(2)(a); Conn.

Gen. Stat. § 53-202w(e)(5). Finally, Massachusetts’ ban grandfathers all magazines

manufactured before September 1994, and allows for new acquisitions if the citizen

has a “Class A” firearms license. Mass. Gen. Laws ch. 140, §§ 121, 131.

      In any event, the above examples should not be afforded any weight because

they are far removed (one-hundred-fifty years or more) from the policies and

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practices in effect during the framing of the Second Amendment. As the Supreme

Court recently explained, “when it comes to interpreting the Constitution, not all

history is created equal.” Bruen, 142 S. Ct. at 2136. Because “[c]onstitutional rights

are enshrined with the scope they were understood to have when the people adopted

them,” laws not in effect in the years leading up to 1791 (the adoption of the Second

Amendment) and perhaps 1868 (the adoption of the Fourteenth Amendment) have

little probative value. Id. at 2136. Accordingly, the laws relied on by the District are

not “longstanding and thereby deserving of a presumption of validity.” Heller II,

670 F.3d at 1260.

      The District failed to establish a long-standing, historical tradition of

prohibiting Plus-Ten Magazines. In fact, as the survey of multi-shot firearms

discussed above demonstrates, firearms capable of holding or shooting more than

ten rounds without reloading have remained unregulated for the vast majority of

American history. The District’s magazine ban cannot be reconciled with Heller’s

rejection of a ban on handguns, the “vast majority of [which] today are

semiautomatic,” and which “have not traditionally been banned and are in common

use by law-abiding citizens.” Heller II, 670 F.3d at 1286-87 (Kavanaugh, J.

dissenting). Accordingly, the district court’s decision should be reversed.




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II.   THE PLAINTIFFS HAVE SATISFIED THE OTHER CRITERIA FOR ISSUANCE OF A
      PRELIMINARY INJUNCTION.

      Although the district court declined to address the other preliminary-

injunction criteria, the Plaintiffs satisfy them. This Court has long affirmed that

“[s]uits for declaratory and injunctive relief against the threatened invasion of a

constitutional right do not ordinarily require proof of any injury other than the

threatened constitutional deprivation itself.” Gordon v. Holder, 721 F.3d 638, 653

(D.C. Cir. 2013) (quoting Davis v. District of Columbia, 158 F.3d 1342, 1346 (D.C.

Cir. 1998)). Because the Second Amendment itself emerges from interest balancing

by the people and leaves no room for the third branch of government to determine

whether the rights it protects are “really worth insisting upon,” Heller, 554 U.S. at

634 (emphasis in original), the balance of the equities tilts decidedly for the

Plaintiffs. And, naturally, because “enforcement of an unconstitutional law is always

contrary to the public interest,” Gordon, 721 F.3d at 653; K.A. ex rel. Ayers v.

Pocono Mountain Sch. Dist., 710 F.3d 99, 114 (3d Cir. 2013) (“enforcement of an

unconstitutional law vindicates no public interest”), the public interest compels the

conclusion that a preliminary injunction should issue.




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III.   THE COURT SHOULD DIRECT THE DISTRICT COURT TO ENTER A
       PERMANENT INJUNCTION IN FAVOR OF PLAINTIFFS.

       The Federal Rules of Civil Procedure permit a court to “advance the trial on

the merits and consolidate it with the hearing” for a preliminary injunction. Fed. R.

Civ. P. 65(a)(2). “[W]hen the eventual outcome on the merits is plain at the

preliminary[-]injunction stage, the judge should, after due notice to the parties,

merge the stages and enter a final judgment.” Morris v. District of Columbia, 38 F.

Supp. 3d 57, 62 n.1 (D.D.C. 2014) (quoting Curtis 1000 v. Suess, 24 F.3d 941, 945

(7th Cir. 1994)). This Court employed this procedure in Wrenn. See 864 F.3d at 667;

see also Moore v. Madigan, 702 F.3d 933, 942 (7th Cir. 2012). As in Moore, here

“[t]he constitutionality of the challenged statutory provision does not present factual

questions for determination in a trial.” 702 F.3d at 942. To the extent any questions

of disputed material fact exist, those questions involve only “legislative facts” that

bear on the justification for legislation, not “adjudicative facts” that must be

determined at trial. Id.

       The Seventh Circuit’s disposition in Moore, involving Illinois’s complete ban

on carrying firearms for personal protection, is particularly instructive here. That

court remanded the case to the district court for entry of a declaration of

unconstitutionality and a permanent injunction. See Moore, 702 F.3d at 942. This

Court should likewise direct the district court to enter final judgment and put an end

to the District’s Magazine Capacity Cap.
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                                   CONCLUSION

      For all these reasons, the Court should reverse the district court’s denial of the

Plaintiffs’ motion for a preliminary injunction, and remand with instructions to

(1) enter the Plaintiffs request for a preliminary injunction and (2) enter final

judgment for Plaintiffs.




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 Dated: August 25, 2023                    Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that, on this 25th day of August, 2023, a true copy of

the Initial Brief was filed electronically with the Clerk of Court using the Court’s

CM/ECF system, which will send by email a notice of docketing activity to the

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                                                   /s/ Edward M. Wenger
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